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       July 30,2013
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      Via Fax: XXX-XX-XXXX
      lIon. L Leo Glasser
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201



                                Re:     In re Motions to Gnseal Docket 98-cr-11 01
                                       !Docket No. 12-mc-150



      Dear Judge Glasser:
              As your honor is aware, an appeal has been taken to the Second Circuit with respect to
      your honor's orders declining to unseal certain documents in 98-cr-11O I. Respectfully, the
      appellants hereby request that they be provided with redacted copies of all transcripts that have
      been transmitted to the Second Circuit. The parties obviously need redacted transcripts to
      formulate the appellate arguments. I
              Inasmuch as many of the documents that remain under seal were generated by or in
      behalf of appellant Frederick M. Oberlander, it is self-evident that arguments made by the
      government or Mr. Sater in favor of maintaining such documents under seal do not just implicate
      the public's right of access. Rather, they implicate Mr. Oberlander's free speech rights, and those
      of his clients, which include victims of Mr. Sater's racketeering at White Rock, inasmuch as
      scaling has been construed by your honor to be tantamount to a gag order, notwithstanding the
      substantive and procedural requirements of FRCP 65(d) and the First Amendment. That is, Mr.


      I See, e.g., Greene v. McElroy, 360 U.S. 474, 496 (1959) (in discussing the Sixth Amendment: "the
      evidence used to prove the Government's case must be disclosed to the indIVIdual so that he has an
      opportunity to show that it is untrue").

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       Oberlander would appear to remain gagged from revealing to the media the arguments and facts
       presented to your honor in legal papers insofar as he would attribute them to, reveal their
       presence in, and cite their provenance in, those papers, merely by virtue of the fact that they
       remain under seaL
               MT. Oberlander and his clients have a right to know what arguments were made in
       support of gagging him from telling anyone who will listen what arguments he made to this court
       in those papers and what facts he cited therein, and so on, and where, and why.
               We therefore request that all legal arguments made before your honor to support sealing
       be discloscd in such redacted transcripts - especially, to the extent that such arguments were
       made to support sealing of documents that Mr. Oberlander or his coun.~el submitted to the
       court and contain infiJrmation obtained out.~ide of court proce.~s. 2 We further request that all
       factual arguments (save for facts showing Felix Sater's actual cooperation, as opposed to the
       mere fact of his cooperation, which has been a matter of public record since 2000, and save for
       specific facts regarding an ongoing criminal investigation)) be disclosed in such redacted
       transcripts - again, and especially, to the extent that such factual arguments were made to
       support sealing of information that came into the possession of Mr. Oberlander or his counsel
       outside of court process. Such legal and factual arguments made by the government and MT.
       Satcr arc nccdcd on appeal, so that we may establish that they arc invalid and untrue,
       respectively.4 We of course specifically, but without limitation, refer to those facts and
       arguments made to the Court, whether by Felix Sater or the government, to support allegations
       that Daniel Persico threat ended Mr. Sater and Mr. Lauria in 2012, in light of the fact that (1) the
       Court is and was well aware that Persico knew Sater and Lauria were cooperators for ten years;
       and (2) the alleged threat occurred in broad daylight and thus allegations and descriptions of its
       existence cannot constitutionally be sealed.
               The transcripts cannot be kept totally secret from us, for we have a right to appeal, which
       must include the right to demonstrate that such, and other, arguments made in support of
       maintaining documents under seal are invalid and based upon incorrect factual allegations, and
       that the legal conclusions in your honor's opinions are invalid. It cannot possibly be the case that
       every word in those transcripts contains information regarding the facts of Mr. Sater's
       cooperation or information regarding an ongoing criminal investigation.
                Even in the Pentagon Papers case, the New York Times was made aware of the
       government's arguments. Please also recall Justice Potter Stewart's opinion therein that secrecy,
       for its own sake, must be avoided and that "when everything is classified, then nothing is
       classified, and the system becomes to be disregarded by the cynical or careless, and to be
       manipulated by those intent on self-protection or self-promotion." N. Y. Times v. Us., 403 U.S.



       2 Bridge v. Technicare, 710 F.2d 940 (2d CiT. 1983); International Products v. Koons, 325 F.2d 403 (2d
       CiT. 1963); Parker v. CBS, 320 F.2d 937 (2d CiT. 1963); Butterworth v. Smith, 494 U.S. 624 (1990).
      ) We remind the court the Government representated in 2011 that Sater's cooperation was complete; it
      would appear any argument thereafter as to any ongoing criminal investigations as to which there was a
      need to maintain a seal on prc-2011 documents was pretcxtual.
      4 The court has previously indicated that national secJ.rity arguments were not being presented in camera;
       accordingly, there would be no such national security rcason that would militate against openness.

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       713, 729 (1971). We most respectfully submit that redacted transcripts must be provided;
       otherwise, there may appear to be a manipulation of court secrecy by those intent on self-
       protection or self-promotion. To state it differently, "Sunlight is the best of disinfectants ...."
       Buckley v. Valeo, 424 US 1,67 (quoting Justice Brandeis),



                                                   Respectfully submitted,

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                                                      Richard E. Lerner


       cc: All counsel, via email




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